           Case 6:22-bk-12949-RB Doc 19 Filed 11/16/22                                            Entered 11/16/22 21:30:19                       Desc
                               Imaged Certificate of Notice                                       Page 1 of 5
                                                              United States Bankruptcy Court
                                                               Central District of California
In re:                                                                                                                Case No. 22-12949-RB
Gilbert Luis Preciado                                                                                                 Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0973-6                                                   User: admin                                                               Page 1 of 3
Date Rcvd: Nov 14, 2022                                                Form ID: 318a                                                           Total Noticed: 35
The following symbols are used throughout this certificate:
Symbol          Definition
^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Nov 16, 2022:
Recip ID                  Recipient Name and Address
db                        Gilbert Luis Preciado, 13729 Burning Tree Dr, Victorville, CA 92395-4806
41253637                  American Medical Response, 2316 S Susan St, Santa Ana, CA 92704-4421
41253646                  DSNB / Macys, Po Box 6776, Sioux Falls, SD 57117-6776
41253648                  First Bank & Trust, 2400 Michelson Dr, Irvine, CA 92612-1310
41253653                  Nationwide Credit, PO Box 15130 19850, Irwin, PA 15642-8113
41253656                  Pomona Valley Hospital Medical Center, 1798 N Garey Ave, Pomona, CA 91767-2918
41253658                  Prosperity Realty, 15431 Anacapa Rd, Victorville, CA 92392-2458
41253660                  Synchrony / American Tire, Po Box 960061, Orlando, FL 32896-0061
41253665                  Victor Valley Global Medical Center, Po Box 846938, Los Angeles, CA 90084-6938

TOTAL: 9

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
tr                        Email/Text: arturo.cisneros@txitrustee.com
                                                                                        Nov 15 2022 04:56:00      Arturo Cisneros (TR), 3403 Tenth Street, Suite
                                                                                                                  714, Riverside, CA 92501
smg                       EDI: EDD.COM
                                                                                        Nov 15 2022 09:48:00      Employment Development Dept., Bankruptcy
                                                                                                                  Group MIC 92E, P.O. Box 826880, Sacramento,
                                                                                                                  CA 94280-0001
smg                       EDI: CALTAX.COM
                                                                                        Nov 15 2022 09:48:00      Franchise Tax Board, Bankruptcy Section MS:
                                                                                                                  A-340, P.O. Box 2952, Sacramento, CA
                                                                                                                  95812-2952
41253636                  Email/Text: backoffice@affirm.com
                                                                                        Nov 15 2022 04:57:00      Affirm, 650 California St Fl 12, San Francisco, CA
                                                                                                                  94108-2716
41253638                  EDI: TSYS2
                                                                                        Nov 15 2022 09:48:00      Barclays Bank Delaware, Po Box 8801,
                                                                                                                  Wilmington, DE 19899-8801
41253644                  Email/Text: correspondence@credit-control.com
                                                                                        Nov 15 2022 04:56:00      Credit Control, 3300 Rider Trl S Ste 500, Earth
                                                                                                                  City, MO 63045-1338
41253639                  EDI: CALTAXFEE
                                                                                        Nov 15 2022 09:48:00      California Dept of Tax and Fee Admin, Po Box
                                                                                                                  942879, Sacramento, CA 94279-0001
41253640                  EDI: CAPITALONE.COM
                                                                                        Nov 15 2022 09:48:00      Capital One, Po Box 30285, Salt Lake Cty, UT
                                                                                                                  84130-0285
41253641                  EDI: CAPITALONE.COM
                                                                                        Nov 15 2022 09:48:00      Capital One / Walmart, Po Box 30285, Salt Lake
                                                                                                                  Cty, UT 84130-0285
41253643                  EDI: CITICORP.COM
                                                                                        Nov 15 2022 09:48:00      Citibank, Po Box 6500, Sioux Falls, SD
                                                                                                                  57117-6500
41253645                  Email/PDF: creditonebknotifications@resurgent.com
                                                                                        Nov 15 2022 05:08:13      Credit One Bank, Po Box 98873, Las Vegas, NV
                                                                                                                  89193-8873
41253647               ^ MEBN
                                                                                        Nov 15 2022 04:54:12      DSRM National Bank / Valero, Po Box 631,
                                                                                                                  Amarillo, TX 79105-0631
41253649                  Email/Text: GSBankElectronicBankruptcyNotice@gs.com
                                                                                        Nov 15 2022 04:56:00      Goldman Sachs / Apple Card, Lockbox 6112, Po
           Case 6:22-bk-12949-RB Doc 19 Filed 11/16/22                                       Entered 11/16/22 21:30:19                     Desc
                               Imaged Certificate of Notice                                  Page 2 of 5
District/off: 0973-6                                               User: admin                                                            Page 2 of 3
Date Rcvd: Nov 14, 2022                                            Form ID: 318a                                                        Total Noticed: 35
                                                                                                            Box 7247, Philadelphia, PA 19170-0001
41253650                 EDI: JEFFERSONCAP.COM
                                                                                   Nov 15 2022 09:48:00     Jefferson Capital Systems, 16 Mcleland Rd, Saint
                                                                                                            Cloud, MN 56303-2198
41253642                 EDI: JPMORGANCHASE
                                                                                   Nov 15 2022 09:48:00     Chase Bank, Po Box 6294, Carol Stream, IL
                                                                                                            60197-6294
41253651                 Email/PDF: MerrickBKNotifications@Resurgent.com
                                                                                   Nov 15 2022 05:08:12     Merrick Bank, Po Box 9201, Old Bethpage, NY
                                                                                                            11804-9001
41253652                 Email/Text: bankruptcydpt@mcmcg.com
                                                                                   Nov 15 2022 04:57:00     Midland Credit Management, Po Box 939069, San
                                                                                                            Diego, CA 92193-9069
41253654                 EDI: AGFINANCE.COM
                                                                                   Nov 15 2022 09:48:00     OneMain Financial, 601 Nw 2nd St, Evansville,
                                                                                                            IN 47708-1013
41253655                 Email/Text: pcabkt@phillips-cohen.com
                                                                                   Nov 15 2022 04:56:00     Phillips & Cohen Associates, 1002 Justison St,
                                                                                                            Wilmington, DE 19801-5148
41253657                 EDI: PMSCOLLECTS.COM
                                                                                   Nov 15 2022 09:48:00     Progressive Management Systems, 1521 W
                                                                                                            Cameron Ave Fl 1, West Covina, CA 91790-2738
41253659                 EDI: RMSC.COM
                                                                                   Nov 15 2022 09:48:00     Synchrony / Amazon, Po Box 960013, Orlando,
                                                                                                            FL 32896-0013
41253661                 EDI: RMSC.COM
                                                                                   Nov 15 2022 09:48:00     Synchrony / Home Shopping Network, Po Box
                                                                                                            530905, Atlanta, GA 30353-0905
41253662                 EDI: RMSC.COM
                                                                                   Nov 15 2022 09:48:00     Synchrony / JC Penny, Po Box 965009, Orlando,
                                                                                                            FL 32896-5009
41253663                 EDI: RMSC.COM
                                                                                   Nov 15 2022 09:48:00     Synchrony / PayPal Credit, Po Box 965003,
                                                                                                            Orlando, FL 32896-5003
41253664                 EDI: RMSC.COM
                                                                                   Nov 15 2022 09:48:00     Synchrony / Pep Boys, Po Box 960061, Orlando,
                                                                                                            FL 32896-0061
41253666                 EDI: WFFC2
                                                                                   Nov 15 2022 09:48:00     Wells Fargo Card Services, Po Box 51193, Los
                                                                                                            Angeles, CA 90051-5493

TOTAL: 26


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason Name and Address
intp                          Courtesy NEF

TOTAL: 1 Undeliverable, 0 Duplicate, 0 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Nov 16, 2022                                        Signature:           /s/Gustava Winters
          Case 6:22-bk-12949-RB Doc 19 Filed 11/16/22                                      Entered 11/16/22 21:30:19                    Desc
                              Imaged Certificate of Notice                                 Page 3 of 5
District/off: 0973-6                                             User: admin                                                           Page 3 of 3
Date Rcvd: Nov 14, 2022                                          Form ID: 318a                                                       Total Noticed: 35

                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on November 14, 2022 at the address(es) listed
below:
Name                            Email Address
Arturo Cisneros (TR)
                                amctrustee@mclaw.org acisneros@iq7technology.com;ecf.alert+Cisneros@titlexi.com

Benjamin Heston
                                on behalf of Debtor Gilbert Luis Preciado bhestonecf@gmail.com benheston@recap.email,NexusBankruptcy@jubileebk.net

United States Trustee (RS)
                                ustpregion16.rs.ecf@usdoj.gov

Valerie Smith
                                on behalf of Interested Party Courtesy NEF claims@recoverycorp.com


TOTAL: 4
       Case 6:22-bk-12949-RB Doc 19 Filed 11/16/22                                                 Entered 11/16/22 21:30:19                Desc
                           Imaged Certificate of Notice                                            Page 4 of 5
Information to identify the case:
Debtor 1              Gilbert Luis Preciado                                                Social Security number or ITIN   xxx−xx−7924
                      First Name   Middle Name   Last Name                                 EIN   _ _−_ _ _ _ _ _ _
Debtor 2                                                                                   Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                           EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Central District of California

Case number: 6:22−bk−12949−RB



Order of Discharge − Chapter 7                                                                                                      12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

           Gilbert Luis Preciado

            [include all names used by each debtor, including trade names, within
           the 8 years prior to the filing of the petition]

           Debtor 1 Discharge Date: 11/14/22



           Dated: 11/14/22
                                                                                    By the court: Magdalena Reyes Bordeaux
                                                                                                  United States Bankruptcy Judge




Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                                      This order does not prevent debtors from paying
and it does not determine how much money, if                                        any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                                debts according to the reaffirmation agreement.
                                                                                    11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                           Most debts are discharged
attempt to collect a discharged debt from the                                       Most debts are covered by the discharge, but not
debtors personally. For example, creditors                                          all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                                     personal liability for debts owed before the
or otherwise try to collect from the debtors                                        debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                                    Also, if this case began under a different chapter
in any attempt to collect the debt personally.                                      of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                                    to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                                         are discharged.

However, a creditor with a lien may enforce a                                       In a case involving community property: Special
claim against the debtors' property subject to that                                 rules protect certain community property owned
lien unless the lien was avoided or eliminated.                                     by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                                       not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.
                                                                                                                                17/AUTU
                                                                                                   For more information, see page 2 >
Official Form 318−CACBdodb/CACodsc                            Order of Chapter 7 Discharge                              page 1
     Case 6:22-bk-12949-RB Doc 19 Filed 11/16/22                             Entered 11/16/22 21:30:19           Desc
                         Imaged Certificate of Notice                        Page 5 of 5




Some debts are not discharged                                Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:               agreement are not discharged.

     ♦ debts that are domestic support                       In addition, this discharge does not stop
       obligations;                                          creditors from collecting from anyone else who is
                                                             also liable on the debt, such as an insurance
                                                             company or a person who cosigned or
     ♦ debts for most student loans;                         guaranteed a loan.


     ♦ debts for most taxes;
                                                              This information is only a general summary
     ♦ debts that the bankruptcy court has                    of the bankruptcy discharge; some
       decided or will decide are not discharged              exceptions exist. Because the law is
       in this bankruptcy case;                               complicated, you should consult an
                                                              attorney to determine the exact effect of the
                                                              discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




Official Form 318−CACBdodb/CACodsc            Order of Chapter 7 Discharge                    page 2
